                 Case 2:22-cv-11073-BAF-CI ECF No. 14-16, PageID.2108 Filed 05/18/22 Page 1 of 1

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                                                                            Exhibit 30                                                                           SEC-PREQIN-E-0000197
